The facts found by the referee fully authorized the judgment rendered by him. The only questions arise upon the exceptions taken by the defendant to the findings of fact, and to the denial of the motion for a nonsuit. The evidence was conflicting upon some points, and wherever any conflict exists it must be assumed in this court, after affirmance of the judgment by the Supreme Court, that all facts tending to sustain the judgment were proved, in support of which any evidence was given before the referee, notwithstanding the proof to the contrary. Adhering to this rule, it must be assumed as proved, that the defendant was the owner of about sixty acres of land near Rochester, which, in May, 1857, he employed the plaintiffs to sell for him at the aggregate price of two hundred and seventy-five dollars per acre, cash, the defendant to pay one per cent commission in case of sale, but nothing unless the sale was effected; that the plaintiffs posted a notice upon their bulletin board, describing the property and terms of sale, and entered the property in their register of property for sale, and made some other efforts to sell the property, but effected no sale; that, about the 1st of January, 1858, the defendant and Ritter went to the office of the plaintiffs, and informed them that they were in treaty for the exchange of the land of the defendant for certain real estate of Ritter's, in the city of Rochester, but had been unable to agree upon the terms, and requested the plaintiffs to assist them in coming to an agreement; that one of the plaintiffs thereupon went to look at the property of Ritter, proposed to be exchanged, for which the defendant paid him, and also at the property of the defendant, for which he did not pay, and estimated the value of the respective parcels of property, and talked with the parties and aided them to make an agreement for the exchange, and drew the contract therefor, which was executed by Ritter and the defendant, and afterward performed by the parties by giving conveyances of the property pursuant to such contract. The contract drawn by the plaintiffs contained a printed clause reciting in substance, that it was made through the plaintiffs, as brokers, and that *Page 216 
the parties acknowledged themselves indebted to the plaintiffs for their usual commissions; but there was no evidence that the defendant or Ritter knew any thing about such clause, except the presumption arising from the signing the contract, and the fact that defendant looked at the contract before signing; and he testified that he knew nothing of it. Upon the above facts the nonsuit was denied. I think the denial was not erroneous. In the most favorable view for the defendant, he was liable to the plaintiffs for his proportion of what they reasonably were entitled to for assisting in negotiating the contract, and preparing it for execution, and were, therefore, entitled to recover of the defendant something, and, although, the complaint was framed upon a sale made under the employment in May, yet no objection was made upon such ground, and, if there had been, it probably would have been obviated by an amendment. That ground cannot be considered here, nor the objection that Ritter was jointly liable with the plaintiff; no such objection having been taken in the answer. I incline to think the latter objection, if taken, would have been unavailing, as I think the fair inference from the facts is not, that Ritter and the defendant should jointly pay the plaintiffs, but, that each should pay for whatever services were rendered for him. There is no appeal upon questions of fact to this court, except where new trials have been granted upon questions of fact, or of both law and fact. Hence, it follows, that, in the present case, no review can be had of any finding of fact where there is any evidence in support of such finding; but, where a fact essential to sustaining the judgment is found, and there is no evidence to sustain the finding, and such finding is excepted to, it may be reversed by this court for the legal error of finding an affirmative fact without any evidence whatever. The exceptions taken to the findings of fact in the present case present the question whether there was any evidence tending to show that the assistance rendered by the plaintiffs in effecting the agreement, for an exchange of real estate between the defendant and Ritter, at the request of, and, so far as appears, for the benefit of, both, had any connection with their employment *Page 217 
by the defendant in May, to sell his land for a specified price in cash. That assistance was rendered to accomplish a different object, and for different parties. By the latter, the plaintiffs were to negotiate a contract for the sale of the land, as brokers for the defendant. What they did was to render some assistance to Ritter and the defendant, at their request, in completing an agreement, which they were negotiating for the exchange of the land for other real estate. They acted, so far as appears, as the mutual friend, and for the benefit of both parties. They did not act, nor profess to act, as the broker or agent of the defendant, and had no power from him in that respect, more than they had from Ritter. I can see no connection between these acts, and their employment in May. No right acquired thereby, to the compensation agreed to be paid in May, for negotiating a sale of the lands, upon the terms then specified. The referee erred in finding facts, establishing any such right. The finding was without evidence, and, therefore, error in law. The clause in the printed blank furnished by the plaintiff, which was filled up as the contract between the parties, acknowledging an indebtedness to the plaintiffs for usual commissions, is no evidence in support of the judgment. It is true, that, in this court, it must be assumed to have been read by the parties and understood. But that does not aid the finding. It entirely fails to show, that these usual commissions for assisting as the mutual friend of the parties, in completing an agreement, they were negotiating, for the exchange of real estate, had any connection with the brokerage agreed to be paid by defendant in May. There was no evidence whatever, showing what such commissions were.
In Lyon v. Mitchell, this court held, that the broker was entitled to his commissions for making a sale, where the sale resulted from information given by the broker to one, who subsequently, in consequence of such information, negotiated a purchase of the property from the owner and employer of the broker. But that is not this case. The bargain which the plaintiffs were employed to negotiate for the defendant never was made. The property never has been sold for cash. *Page 218 
It was exchanged for other real estate. This exchange was negotiated by the parties themselves. The plaintiffs assisted in the negotiations, not as broker for the defendant, but aided alike both parties. The defendant, I think, is only bound to pay a reasonable compensation for the services rendered by the plaintiff for him, or his equal proportion for the services rendered for the parties.
The judgment should be reversed and a new trial ordered, costs to abide the event.
Judgment affirmed. *Page 219 